UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:
                                                Case No.: 20-10322-CLB
The Diocese of Buffalo, N.Y.,                   Chapter: 11
                     Debtor



                                 NOTICE OF FILING

         PLEASE TAKE NOTICE that, in accordance with the Order entered July 15, 2020

[Docket No. 453] Nunc Pro Tunc to February 28, 2020, Gibson, McAskill & Crosby, LLP

has filed the Twelfth Monthly Fee Statement of Gibson, McAskill & Crosby, LLP for

Compensation for Services Rendered and Reimbursement of Expenses as Special Counsel

to The Diocese of Buffalo, N.Y., for the Period August 1, 2021 – September 30, 2021, a

copy of which is attached hereto and hereby served upon you.



 Dated: Buffalo, New York                   s/Robert G. Scumaci
        October 22, 2021                    _____________________________________
                                            ROBERT G. SCUMACI, ESQ.
                                            Gibson, McAskill & Crosby, LLP
                                            Special Counsel for Debtor,
                                            THE DIOCESE OF BUFFALO, N.Y.
                                            69 Delaware Avenue, Suite 900
                                            Buffalo, New York 14202
                                            (716) 856-4200




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:
                                                Case No.: 20-10322-CLB
The Diocese of Buffalo, N.Y.,                   Chapter: 11
                      Debtor



  TWELFTH MONTHLY FEE STATEMENT OF GIBSON, McASKILL & CROSBY,
       LLP FOR COMPENSATION FOR SERVICES RENDERED AND
       REIMBURSEMENT OF EXPENSES AS SPECIAL COUNSEL TO
             THE DIOCESE OF BUFFALO FOR THE PERIOD
            AUGUST 1, 2021 THROUGH SEPTEMBER 30, 2021


 Name of Applicant:                 Gibson, McAskill & Crosby, LLP

 Authorized to Provide              The Diocese of Buffalo, N.Y., Debtor-In-Possession
 Professional Services to:

 Date of Retention:                 Order entered July 15, 2020 [Docket No. 453] Nunc
                                    Pro Tunc to February 28, 2020

 Period for which compensation
 and reimbursement is sought:       August 1, 2021 – September 30, 2021

 Amount of compensation sought
 as actual, reasonable and          80% of $962.50 ($770.00)
 necessary:

 Amount of expense
 reimbursement sought as actual,    $0.00
 reasonable and necessary:


This is a:    X monthly ___ quarterly ___ final application

This is the 12th monthly fee statement of Gibson, McAskill & Crosby, LLP in this case.




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GIBSON, McASKILL & CROSBY, LLP
69 DELAWARE AVENUE, SUITE 900
BUFFALO, NEW YORK 14202
IDENTIFICATION NUMBER XX-XXXXXXX


                                                                           October 22, 2021
Diocese of Buffalo
785 Main Street
Buffalo NY 14203


NON-CVA FEES BILLED:

        Invoice 111687
                 Fees:              175.00
                 Costs:               0.00
                          Total:   $175.00

        Invoice 111686
                 Fees:              787.50
                 Costs:               0.00
                          Total:   $787.50


TOTAL NON-CVA FEES BILLED:                   $962.50
TOTAL NON-CVA COSTS BILLED:                     0.00
                                             $962.50

                                             CLIENT TOTAL DUE:   $962.50




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 GIBSON, MoASKILL & CROSBY' LLP
 69 DELAWARE AVENUE, SUITE 9OO
 BUFFALO, NEW YORK 14202
 IDENTIFICATION NU MBER I 6-1 333576
                                                                          October 20,2021
                                                                          lnvoice No '1 1 1 687

 Mr. John M. Scholl
 Diocese of Buffalo
 795 Main Street
 Buffalo, NY '14203


           Re                 v. lmmaculate Conception, Et al
                      Your File No.: Unknown
                      Our File Number: 0125.0011

INTERIM STATEMENT
ffiERVICES                        RENDERED
from August 1,2021through September 30' 2021
ai .rmriarized below andletailed on the attached schedule
TIME SUMMARY
                                       HOURS          RATE      AMOUNT
PROFESSIONAL                                                     175.00
                                           1.00       I 75.00
Joseph W. Dunbar

                                                                                                  $175.00
                                               TOTAL FEES
                                                                                                  $175.00
                                               TOTAL CURRENT BILLING




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                                                                                                   10120121
0125.0011          lmmaculate Conception' Et al                                                     P
1 I 1687




                                            ITEMIZE D SERVTCES

                                                                           Key     Hours   Rate    Amount
 Date       Prof   Task Narrative
                                                                                            175         17 .50
                                                                           42865   0.10
 08125121   JWD           Communicate with client regarding settlement
                          negotiations.
                                                                                                        17.50
                          Communicate with plaintiff's attorney
                                                                           42866 0.10       175
 08125121   JWD
                          regarding settlement negotiations'
                                                                                            4atr
                                                                                            trJ         35.00
                          Communicate with plaintiff counsel and
                                                                  ADR      54843 0.20
 09129121   JWD
                          mediator regardin g settlement conference'

                                                                           54844 0.30       175         52.50
 09129121   JWD           Review and analyze recent medical records
                          from Buffalo Rehab GrouP'
                                                                           54878 o.2o       175         35 00
 09130121   JWD           Draft report to client regarding Buffalo Rehab
                          physicai therapy records and ADR status'
                                                                                   0.10     175         17.50
                                                                           54881
 09130121   JWD           Review and execute ADR stipulation
                                                                                    1.00           $175.00
                                                                   Total Fees:

                                                                                               $        175.00
                       TOTAL CURRENT BILLING:




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GIBSON, McASKILL & CROSBY' LLP
69 DELAWARE AVENUE. SUITE 9OO
BUFFALO, NEW YORK 14202
IDENTI FICATION NUM BER'16-13335 76
                                                                           October 20,2021
                                                                           lnvoice No. 11'1686

 Mr. John M Scholl
 Diocese of Buffalo
 795 Main Street
 Buffalo, NY 14203


           Re                v. St. Amelia RC Church Society
                      Your File No.: Unknown
                      Our File Number: 0125 0010

INTERIM STATEMENT
@SERVICES                         RENDERED
irom Rugust 1,2O2l through September 30,2021
                                                    schedule
as srm,iarited below and-detailed on the attached

TIME SUMMARY
                                        HOURS           RATE     AMOUNT
 PROFESSIONAL                                                     787.50
                                            4.50        175.00
Joseph W. Dunbar

                                                                                                 $787 50
                                               TOTAL FEES
                                                                                                 $787.50
                                               TOTAL CURRENT BILLING




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                                                                                                                    10120121
0125.0010                v. St. Amelia RC Church Society                                                             Paqe.2
1
    'l 1686




                                                      ITEMIZE D SERVICES

                                                                                       Key      Hours    Rate       Amount
    Date          Prof      Task Narrative
                                                                                                0.24      175         35 00
                                                                                       48277
    08118121      JWD               Draft email to ERISA lien holder'
                                                                                       48280    0.70      175        122.50
    08118121      JWD               Review file in preparation for client conference
                                                                                                0.60      175        105 00
                                                                                       48282
    0Bl1Bl21      JWD               Conduct settlement negotiations
                                                                                       482s3    0.20      175         35 00
    0Bl1Bl21      JWD               Draft subpoena to snowplow contractor'
                                                                                                                      '17 50
                                                                                       48295    0.10      175
    0Bl1Bl21      JWD               Attempt to reach non-party witnesses'
                                                                                                0.20      175         35 00
                                                                                       42110
    08120121      JWD               Telephone conference with client regarding
                                    settlement negotiations'
                                                                                       42111 0 20         175         35 00
    08t20121 JWD                    Telephone conference with plaintiff's attorney
                                    regaiding settlement negotiations
                                                                                       42112 0.1 0        175         17 .50
    08t20t21 JWD                    Draft email to client regarding
                                    investigation/statements of non-party
                                    witnesses.
                                                                                       42119 0.40          175        70 00
    08120121 JWD                    Draft letter to bankruptcy attorney regarding
                                    ProPosed settlement'
                                                                                       42120    0.20       175        35 00
    08120121      JWD               Draft release/settlement ag reement'
                                                                                                0 '10      175         17 .50
                                                                                       42121
    08120121      JWD               Draft stipulation of discontinuance'
                                                                                       42795    0.20       175         35 00
    08124121      JWD               Revise proposed settlement documents'
                                                                                       43435     0.70      175        122.50
    08127121      JWD               Researched jury verdict value for ankle
                                    fracture wlth open reduction and internal
                                    fixation.
                                                                                       56419 0.20          175         35.00
    09107121 JWD                    Communicate with plaitniff counsel regarding
                                    settlement approval and release conditions'
                                                                                                 0.10      175         17 50
                                                                                        54895
    09130121      JWD               Review executed release
                                                                                        54896    0.30      175         52.50
    09t30t21      JWD               Communicate with plaintiff counsel regarding
                                    our objections to reiease language regarding
                                    liens/Medicare.
                                                                                Total Fees:       4.50               $787.50


                                                                                                                $      787.50
                                 TOTAL CURRENT BILLING:




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